Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 1 of 36 PageID: 202




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  BRG HARRISON LOFTS URBAN
  RENEWAL LLC,                                 Civil Action No: 2:16-06577

                               Plaintiff,

                    v.

  GENERAL ELECTRIC COMPANY,
  ENVIRONMENTAL WASTE
  MANAGEMENT ASSOCIATES, LLC and
  ACCREDITED ENVIRONMENTAL
  TECHNOLOGIES, INC.,

                               Defendants.



                  DEFENDANT GENERAL ELECTRIC COMPANY’S
           BRIEF IN SUPPORT OF ITS MOTION TO DISMISS COUNTS ONE,
          FOUR, FIVE, SIX, SEVEN, EIGHT, ELEVEN AND TWELVE OF THE
            FIRST AMENDED COMPLAINT PURSUANT TO F.R.C.P. 12(b)(6)


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  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 2 of 36 PageID: 203




                                         TABLE OF CONTENTS
                                                                                                             Page
  PRELIMINARY STATEMENT .............................................................................1

  FACTUAL BACKGROUND .................................................................................4

  ARGUMENT........................................................................................................ 17

      POINT I

                        STANDARD OF REVIEW ON A MOTION TO DISMISS
                        FOR FAILURE TO STATE A CLAIM UNDER FEDERAL
                        RULE OF CIVIL PROCEDURE 12(B)(6) .................................. 17

      POINT II

                        PURSUANT TO THE AGREEMENT, BRG
                        RELINQUISHED ALL CAUSES OF ACTION AGAINST
                        GE RELATING TO THE SITE EXCEPT THE RIGHT TO
                        ENFORCE “CLAIMS UNDER THIS AGREEMENT” ............... 20

                        A. BRG relinquished the statutory and common law claims
                           asserted here. ........................................................................ 21

                        B.    BRG’s relinquishment of its past, present and future
                              causes of action was valid and should be enforced. .............. 27

  CONCLUSION .................................................................................................... 32




  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 3 of 36 PageID: 204




                                      TABLE OF AUTHORITIES

                                                                                                          Page(s)
  FEDERAL CASES

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) ................................................................................... 17, 18

  In re Burlington Coat Factory Sec. Litig.,
      114 F.3d 1410 (3d Cir. 1997) ............................................................... 10, 18, 20

  Cohen v. Indep. Blue Cross,
    820 F. Supp. 2d 594 (D.N.J. 2011)................................................................... 28

  Dep’t of Pub. Advocate v. N.J. Bd. of Pub. Util.,
    206 N.J. Super. 523 (App. Div. 1985) ........................................................ 30, 31

  Fisher Dev. Co. v. Boise Cascade Corp.,
     37 F.3d 104 (3d Cir. 1994) ................................................................... 20, 28, 29

  Fowler v. UPMC Shadyside,
    578 F.3d 203 (3d Cir. 2009) ............................................................................. 17

  Giaccone v. Canopius U.S. Ins. Co.,
     133 F. Supp. 3d 668 ......................................................................................... 30

  Hofman v. Time Warner Cable Inc.,
    No. 12-cv-00978 (ES), 2013 WL 2460121 (D.N.J. June 6, 2013) .................... 19

  Inst’l Investors Grp. v. Avaya, Inc.,
     564 F.3d 242 (3d Cir. 2009) ............................................................................. 19

  Leveto v. Lapina,
     258 F.3d 156 (3d Cir. 2001) ............................................................................. 18

  Marchak v. Claridge Commons, Inc.,
    134 N.J. 275 (1993) ......................................................................................... 29

  McTernan v. City of York,
    564 F.3d 636 (3d Cir. 2009) ............................................................................. 17

  Medtronic AVE, Inc.. v. Advanced Cardiovascular Sys., Inc.,
    247 F.3d 44 (3d Cir. 2001) ......................................................................... 21, 30

                                                          iii
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 4 of 36 PageID: 205




  Motino v. Toys “R” Us., Inc.,
    No. 06-cv-370 (SRC), 2007 WL 2123698 (D.N.J. July 19, 2007) .................... 20

  Pryor v. Nat’l Collegiate Athletic Ass’n,
     288 F.3d 548 (3d Cir. 2002) ............................................................................. 18

  Red Bank Reg’l Ed. Ass’n v. Red Bank Reg’l High Sch. Bd.,
    78 N.J. 122 (1978) ..................................................................................... 20, 29

  In re Rockefeller Ctr. Prop., Inc. Sec. Litig.,
      184 F.3d 280 (3d Cir. 1999) ............................................................................. 10

  Shane v. Fauver,
     213 F.3d 113 (3d Cir. 2000) ............................................................................. 20

  Smith v. Merck & Co., Inc.,
    No. 13-cv-2970, 2014 WL 5026321 (D.N.J. Oct. 8, 2014) ............................... 20

  Weisman v. N.J. Dep’t of Human Servs.,
    982 F. Supp. 2d 386 (D.N.J. 2013)................................................................... 30

  WHY ASAP, LLC v. Compact Power,
    461 F. Supp. 2d 308 (D.N.J. 2006)................................................................... 30

  Winer Family Trust v. Queen,
    503 F.3d 319 (3d Cir. 2007) ............................................................................. 18

  FEDERAL STATUTES
  28 U.S.C. § 1367(c)(3) .......................................................................................... 19

  STATE STATUTES
  N.J.S.A. 58:10C-2 ................................................................................................. 25

  N.J.S.A. 58:10C-7 ...................................................................................................6

  N.J.S.A. 58:10C-14 (a) ...........................................................................................6

  N.J.S.A. 58:10C-17 .................................................................................................6

  RULES

  Federal Rule of Civil Procedure 12(b)(6) ....................................................... passim

                                                           iv
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 5 of 36 PageID: 206




                            PRELIMINARY STATEMENT

           This action arises out of a contract dispute between BRG Harrison Lofts

  Urban Renewal LLC (“BRG”) and General Electric Company (“GE”). Despite

  BRG’s multi-count complaint against three parties regarding alleged newly-

  discovered and unexpected levels of mercury found within the superstructure of

  buildings it owns at a property located in Harrison, New Jersey, and its allegations

  of dissatisfaction with its own and GE’s consultants’ remedial work; as well as its

  invocation of various statutory and common law claims to address those problems,

  at root this matter is essentially a disagreement regarding which party is

  responsible to pay for the characterization and potential abatement of mercury

  within the buildings’ structures.

           With respect to its claims against GE, BRG expressly waived, released, and

  covenanted not to sue, and discharged GE for all but potential future breach of

  contract claims and, therefore, the bulk of BRG’s claims1 should be dismissed

  under the Indemnification and Settlement Agreement between GE and BRG. As a

  result of that agreement, which specifically addressed the circumstances and claims

  1
     The counts that should be dismissed are: Counts One (CERCLA cost recovery);
  Count Four (New Jersey Spill Act cost recovery); Count Five (nuisance); Count
  Six (negligence); Count Seven (strict liability); Count 8 (legal and equitable
  restitution); Count Eleven (RCRA injunctive relief); and Count Twelve (New
  Jersey Environmental Rights Act relief). GE reserves the right to otherwise
  challenge the legal validity and viability of these and the remaining claims on other
  grounds at a later time, if necessary.

                                            1
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 6 of 36 PageID: 207




  at issue in this case, BRG cannot state viable claims for relief pursuant to the

  various statutes and common law causes of action it attempts to assert in its

  Amended Complaint because those claims would be futile. The only claims that

  may survive under the parties’ agreement – at least at this early pleadings stage –

  are BRG’s breach of contract claims.2

           As BRG’s own Amended Complaint admits, it entered into the Indemnity

  and Settlement Agreement with GE after a lengthy and thorough due diligence

  investigation during which it and its third-party environmental consultants

  performed a pre-purchase study of the property.        See Am. Compl. ¶¶ 40-52,

  Declaration of Cynthia S. Betz (“Betz Decl.”), Ex. 1. Further, BRG’s Amended

  Complaint demonstrates that, as a result of its own due diligence, it was aware of

  the background, history, uses and operations at the property, including the presence

  of mercury in the soils beneath the property and within the interior of a building on

  the property. Id. ¶¶ 15-38.3 It was with this knowledge and understanding that


  2
     Counts Two and Three. GE reserves the right to otherwise challenge the legal
  validity and viability of these claims on other grounds at a later time.
  3
      BRG’s Amended Complaint also admits, as it must, that the property is the
  subject of ongoing environmental response activities. (See, e.g., id. ¶¶ 40-49
  (factual allegations concerning environmental due diligence), ¶¶ 73-84 (factual
  allegations describing GE’s remedial activities), ¶¶ 113-117 (factual allegations
  concerning a mercury sampling report as recent as October 2016)). These
  environmental response activities have proceeded under New Jersey Department of
  Environmental Protection (“NJDEP”) case number 12-06-06-0920-51 (Program
  Interest identification number 020373), pursuant to the New Jersey Site
                                           2
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 7 of 36 PageID: 208




  BRG relinquished all claims – except for “contractual claims” – with respect to

  future environmental response actions that BRG now alleges GE is required to

  undertake at the property. BRG relinquished these claims in order to obtain GE’s

  agreement to perform the remediation of the soils and subsurface conditions at the

  property in a manner that would not “unreasonably interfere with its

  redevelopment.” Indemnity and Settlement Agreement, §4(a) (Betz Decl., Ex. 2).

  Indeed, the agreement makes clear that BRG agreed to “waive, release, covenant

  not to sue and forever discharge” past, present and future claims and causes of

  action relating to a broadly-defined category of “Environmental Response

  Activities” – subject to a preservation of its contractual remedies under that

  agreement – and did so in the explicit context of a settlement agreement that

  resolved the parties’ prior, present and future disputes concerning environmental

  conditions at the property.

           Now faced with seemingly unanticipated project costs, perhaps as the result

  of gaps in its own due diligence (see Am. Compl., Count Nine), BRG wishes to

  ignore its contractual relinquishment of past and future claims against GE. But

  BRG’s own Amended Complaint and the express terms of the parties’ agreement


  Remediation Reform Act, N.J.S.A. 58:10C-1 et seq., (see Am. Compl. ¶ 73) and
  under the supervision of a New Jersey Licensed Site Remediation Professional
  (see, e.g., id. ¶¶ 50-51), and with the knowledge of NJDEP, the United States
  Environmental Protection Agency (“EPA”), as well local agencies.


                                            3
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 8 of 36 PageID: 209




  demonstrate that BRG knowingly relinquished all but its potential future contract

  claims.

           Despite its own admissions in the Amended Complaint, and in the face of a

  clear, bargained-for agreement, BRG is now attempting to revive the very claims it

  relinquished by alleging conditions on the property that it was either aware of or

  capable of knowing of at the time of its agreement. This is nothing more than a

  transparent effort to distract attention from its own obligations and to force GE to

  undertake characterization and remediation of mercury present in certain building

  materials in contravention of the terms and conditions of the parties’ Settlement

  and Indemnity Agreement. While BRG may have viable contact claims, by its own

  express agreement and admissions, it has nothing more. Accordingly, Counts One,

  Four through Eight, and Counts Eleven and Twelve are futile and should be

  dismissed with prejudice because they fail to state a claim upon which this court

  can grant relief.

                              FACTUAL BACKGROUND

           The facts and claims in this case, as alleged by BRG, concern the condition

  of property located in Harrison, New Jersey, as well as the adequacy of BRG’s

  environmental due diligence, and the terms of an Indemnity and Settlement

  Agreement between BRG and GE. The property is the former location of the

  Edison Lamp Works where, according to the Plaintiff, GE’s predecessors

                                            4
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 9 of 36 PageID: 210




  commenced operations in 1882.         (Am. Compl. ¶ 15.)       From 1882 to 2014,

  operations at the property changed several times as did its ownership. (Id. ¶¶ 29-

  37.) The last entity (RCA Corporation) related to GE to own or operate at the

  property ceased operations and sold the property in 1976. (Id. ¶ 37.)

           On or about June 9, 2015, Plaintiff BRG acquired two parcels that were once

  part (but not all) of the former Edison Lamp Works property (collectively, the

  “Site”). (Id. ¶ 9-12.) BRG executed a contract for the purchase of the property in

  February of 2012. (Id. ¶ 39.) “BRG acquired the Site for the express purpose of

  redeveloping it for residential use - specifically as residential loft apartment units

  and related parking.” (Id. ¶ 10.) Between February 2012 and March 2014, BRG

  conducted due diligence and other environmental investigations at the Site. (Id. ¶¶

  40-49.)

           Long before acquiring the Site, in February 2012, BRG engaged

  Environmental Waste Management Associates, LLC (“EWMA”) to perform

  “environmental due diligence in connection with BRG’s interest in purchasing the

  Site,” which included a survey of “the interior of Buildings A, B and C for the

  presence of mercury using a mercury vapor analyzer.” (Id. ¶¶ 40-41.) This survey

  identified “mercury vapors in only two isolated locations on the third floor of

  Building C.” (Id. ¶ 42.)



                                            5
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 10 of 36 PageID: 211




           Thereafter, on November 5, 2014, BRG entered into an Indemnification and

  Settlement Agreement with GE. (Id. ¶ 55.) According to BRG, pursuant to this

  agreement, GE was required to obtain a Response Action Outcome for the Site (a

  so-called “Site-wide RAO”) from a Licensed Site Remediation Professional

  (“LSRP”),4 certifying that remediation of the Site is complete and that the Site is

  not a risk to human health or the environment. Id. BRG alleges that in order to

  achieve a “Site-wide RAO” pursuant to the New Jersey Site Remediation Reform

  Act (“SRRA”), N.J.S.A. 58:10C-1 et seq., as required under the Indemnity and

  Settlement Agreement, GE must fully investigate the extent of mercury on the Site,

  including mercury in building materials. (Am. Compl. ¶ 103.) BRG asserts that it

  relied on information provided by GE, as well as its own consultant EWMA,

  regarding the presence of mercury at the Site. (Id. ¶¶ 57-58.)




  4
     A “Licensed Site Remediation Professional” (“LSRP”) is an individual licensed
  by the New Jersey Site Remediation Professional Licensing Board, N.J.S.A.
  58:10C-7, who must manage, supervise or perform the work required for the
  remediation of a contaminated site in New Jersey. N.J.S.A. 58:10C-14 (a). To
  obtain regulatory closure on a contaminated site, an LSRP must issue to the New
  Jersey Department of Environmental Protection (“NJDEP”) a document known as
  a “response action outcome” (“RAO”), certifying that “the site has been
  remediated so that it is in compliance with all applicable statutes, rules and
  regulations protective of public health and safety and the environment.” N.J.S.A.
  58:10C-14 (d). The Board audits a certain fraction of RAOs issued by LSRPs and
  has the authority to revoke the LSRP’s license if the RAO was issued improperly.
  N.J.S.A. 58:10C-17.
                                            6
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 11 of 36 PageID: 212




           BRG alleges that, following its acquisition of the Site in June 2015, it

  engaged a new consultant to perform additional mercury surveys “in preparation

  for conducting the limited mercury abatement on the third floor of Building C.”

  (Id. ¶¶ 59-60.) According to BRG, this consultant found concentrations of mercury

  vapor exceeding chronic minimum risk levels on all floors of Buildings A, B and

  C. (Id. ¶¶ 63-66.) Following this finding, BRG apparently elected not to proceed

  with the previously planned “mercury abatement” of the building interior because

  of the increased scale of the apparent mercury conditions within the buildings.

           BRG asserts that it has repeatedly demanded that GE investigate and

  remediate the mercury contamination at the Site, including in building materials,

  and GE has refused and continues to refuse to do so. (Id. ¶ 110.)

           As a fundamental basis of all of its claims against GE, and in particular its

  contract claims, BRG alleges that GE has refused to either undertake an

  investigation and remediation of the mercury contamination at the Site, or to

  provide requested data. (Id. ¶ 120). BRG’s various allegations concerning the

  parties’ contractual rights and obligations evidence that the essence and source of

  its claims arise from its contract with GE. For example, BRG maintains that the

  Indemnity and Settlement Agreement obligates GE to provide “from time to time,

  at BRG’s reasonable request, copies of final data that has not been included in any

  final report.” (Id. ¶ 111.) It asserts that it formally requested all data in GE’s

                                             7
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 12 of 36 PageID: 213




  possession or control relating to mercury contamination on the Site on three

  occasions, but that GE failed to timely provide such data. (Id. ¶ 112.) BRG further

  maintains that it has complied with the Dispute Resolution Procedure outlined in

  the Indemnity and Settlement Agreement, Section 3(g), by using reasonable good

  faith efforts for longer than 30 days to negotiate a resolution of the issues relating

  to the scope of work necessary to achieve a Site-wide RAO. (Id. ¶ 120.)

           In Counts Two and Three of its Amended Complaint, BRG asserts causes of

  action for breach of contract under the Indemnification and Settlement Agreement.

  In this regard, BRG alleges that pursuant to Section 4(a) of the Indemnity and

  Settlement Agreement, GE undertook to “perform the Environmental Response

  Activities in a good and workmanlike manner and in accordance with customary

  industry standards, the direction of the LSRP and then prevailing laws, including

  Environmental Laws.” (Id. ¶ 146.) BRG then asserts that Section 1(c) of the

  Indemnity         and   Settlement   Agreement   defines   “Environmental Response

  Activities” as “all environmental activities of any kind carried out, in the past or

  the future, at or near the Site in connection with conditions arising out of GE’s or

  RCA’s prior activities at the [Site] ... all as required to obtain an RAO . . . from an

  LSRP, and to comply with any and all requirements after issuance of such RAO.”

  (Id. ¶ 147.)




                                              8
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 13 of 36 PageID: 214




           BRG maintains that, in breach of its obligations under the Settlement and

  Indemnity Agreement, “GE has stopped performing Environmental Response

  Activities at the Site in connection with conditions arising out of GE’s prior use

  and discharge of [hazardous substances] at the Site that are required to obtain a

  Site-wide RAO,” and that this is “in breach of the Indemnity and Settlement

  Agreement. (Id. ¶ 150.) In this regard it further asserts that “GE has refused to

  perform Environmental Response Activities in connection with conditions arising

  out of GE’s prior use and discharge of mercury at the Site, including the mercury

  contamination, in breach of the Indemnity and Settlement Agreement.” (Id. ¶ 151.)

  And further that “GE has refused to provide to BRG copies of final data that has

  not been included in any final report, in breach of the Indemnity and Settlement

  Agreement.” (Id. ¶ 152.) Thus, BRG alleges that as a direct and proximate result

  of the breaches of the Indemnity and Settlement Agreement by GE, BRG has

  suffered damages. (Id. ¶ 153.)

           Section 2 of the Indemnity and Settlement Agreement provides:

              2. Release.

              (a) The Parties agree to and hereby do waive, release, covenant
              not to sue and forever discharge each other with respect to any
              and all claims for Past Costs, as well as any damages, claims,
              penalties and causes of action and/or allegations of liability,
              whether asserted or unasserted, that the Parties ever had, now
              have, or may have in the future arising out of or relating in any


                                             9
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 14 of 36 PageID: 215




              way to Past Costs, Prior Environmental Investigations or GE
              Response Activities.

              (b) For the purpose of limiting the nature of any claims between
              the Parties relating to any Environmental Response Activities to
              contractual claims under this Agreement, from and after the
              Indemnity Effective Date, the Parties agree to and hereby do
              specifically waive, release, covenant not to sue and forever
              discharge each other with respect to any and all past and present
              costs, damages, claims, penalties and causes of action and/or
              allegations of liability, whether asserted or unasserted, that the
              Parties ever had, now have, or may have in the future arising out
              of or relating in any way to the Environmental Response
              Activities, except for those contractual claims set forth in Section
              2(c) below. This release applies to anything which has happened
              prior to the Effective Date, and expressly absolutely,
              unconditionally and irrevocably applies to any and all past and
              present costs, damages, claims, penalties and causes of action
              and/or allegations of liability, whether asserted or unasserted,
              that the Parties ever had, now have, or may have in the future
              (other than to enforce the obligations and requirements of this
              Agreement) arising out of or relating in any way to the
              Environmental Response Activities.

              (c) For the avoidance of doubt, the releases contained in
              Sections 2(a) and 2(b) of this Agreement are not intended, and
              shall not be construed, to cover or discharge any of the Parties’
              respective obligations under this Agreement.

  See Indemnity and Settlement Agreement, Section 2 (Betz Decl., Ex. 2).5

           Under the Definitions Section of the Indemnity and Settlement Agreement,

  the following terms are defined:

  5
      BRG did not append this agreement to its pleading, but the Court may consider
  it for purposes of this motion because it is “integral to [and] explicitly relied upon
  in the complaint.” See In re Rockefeller Ctr. Prop., Inc. Sec. Litig., 184 F.3d 280,
  287 (3d Cir. 1999) (citing In re Burlington Coat Factory Sec. Litig., 114 F.3d
  1410, 1426 (3d Cir. 1997)). The agreement is widely referred to in the Amended
  Complaint and it forms the basis of at least two of BRG’s causes of action.
                                              10
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 15 of 36 PageID: 216




              (b) “Environmental Laws” shall mean all federal, regional, state,
              county or local laws, statutes, ordinances, decisional law
              (including common law), rules, regulations, codes, orders,
              decrees, directives, applicable guidance and judgments relating
              to health or safety, pollution, damage to or protection of the
              environment and natural resources, environmental conditions,
              releases or threatened releases of hazardous substances into the
              environment or the use, manufacture, processing, distribution,
              treatment, storage, generation, disposal, transport or handling of
              hazardous substances, existing as of the Effective Date or
              thereafter enacted, rendered, adopted or promulgated.
              Environmental Laws shall include, but are not limited to: the
              Comprehensive Environmental Response, Compensation and
              Liability Act, 42 U.S.C. 9601, et seq. (“CERCLA”); the
              Resource Conservation and Recovery Act, 42 U.S.C. 6901, et
              seq. (“RCRA”); the Clean Air Act, 42 U.S.C. 7401, et seq.; the
              Clean Water Act, 33 U.S.C. 1251, et seq.; the Toxic Substances
              Control Act, 15 U.S.C. §§ 2601 2629; the SRRA; the Spill Act;
              the Industrial Site Recovery Act, N.J.S.A. 13:1K-6 et seq.; the
              New Jersey Water Pollution Control Act, N.J.S.A. 58:10A-1, et
              seq.; and the New Jersey Air Pollution Control Act, N.J.S.A.
              26:2C-1, et seq.; and any and all rules and regulations
              promulgated thereunder.

              (c) “Environmental Response Activities” shall mean all
              environmental activities of any kind carried out, in the past or the
              future, at or near the Site in connection with conditions arising
              out of GE’s or RCA’s prior activities at the Former RCA
              Facility, including on-Site investigations or activities, off-Site
              investigations or activities, response actions, remedial actions,
              mitigation or abatement investigations or activities, cleanup and
              removal costs, which activities shall also include all required
              actions of any kind with regard to VI investigation and
              mitigation, installation, operation and maintenance of all
              Controls, obtaining any required remedial action permits and
              posting required financial assurances, conducting all
              maintenance, monitoring and reporting requirements related to
              such Environmental Response Activities and paying all costs and
              expenses related thereto, all as required to obtain an RAO (as


                                              11
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 16 of 36 PageID: 217




              defined below) from an LSRP, and to comply with any and all
              requirements after issuance of such RAO.

              (d) “Former RCA Facility” shall mean the former RCA
              receiving tube manufacturing facility with an address of 415
              South Fifth Street, in Harrison, New Jersey, situated generally
              (but not exclusively), between Fourth and Seventh Streets, and
              Sussex and Essex Streets, in Harrison, Hudson County, New
              Jersey, as depicted on the figure attached hereto as Exhibit “C”.

  Betz Decl., Ex. 2.

           Section 9 of the Indemnity and Settlement Agreement provides, in part, that:

              9. Deed and Lease Notices/Environmental Deed Covenant.

              (a) BRG covenants and agrees to cause all deeds, leases, grants,
              easements, covenants and other written transfers of any interest
              in the Site to a successor or permitted assign or to a Subsequent
              Grantee to contain a notice concerning the presence of residual
              environmental impacts at the Site, GE’s rights with respect to the
              performance of Environmental Response Activities at the Site,
              the restrictions on the use of the Site and the Deed Covenant (as
              such term is defined in Section 9(b) below), and an
              acknowledgment of such successor’s, permitted assign’s or
              Subsequent Grantee’s acceptance of the terms thereof,
              substantially in the form attached hereto as Exhibit “E”,
              provided that any failure to include such notice in any such
              instrument shall not constitute a release or waiver of any of the
              terms, conditions, restrictions or access rights contained herein or
              in the Deed Covenant.

  Betz Decl., Ex. 2.

           In the Deed Covenant referenced as Exhibit E in Section 9 of the Indemnity

  and Settlement Agreement, which GE recorded in the Hudson County Registrar’s

  Office with BRG’s consent (Indemnity and Settlement Agreement, §9(b)), the

  parties agreed that:

                                              12
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 17 of 36 PageID: 218




              The Grantor acknowledges that GE has, among other things,
              engaged a Licensed Site Remediation Professional (as such term
              is defined at N.J.A.C. 7:26C-1.3) (“LSRP”) and has conducted
              Environmental Response Activities and VI Activities (as such
              terms are defined in the Indemnity Agreement) and will conduct
              in the future Environmental Response Activities and will satisfy
              GE’s Continuing Obligations (as such terms are defined in the
              Indemnity Agreement) at and with respect to the Property.

              The Grantor [BRG] acknowledges that the terms and conditions
              of the Indemnity Agreement are intended to facilitate GE’s
              performance of the Environmental Response Activities, GE’s
              Continuing Obligations and GE’s other obligations under the
              Indemnity Agreement and to allow Grantor to redevelop the
              Property in accordance with a Redevelopment Plan (as such term
              is defined in the Indemnity Agreement) and consistent with the
              Environmental Response Activities and any Controls (as such
              term is defined in the Indemnity Agreement) implemented at the
              Property by GE.

              Pursuant to the Indemnity Agreement, the Grantor is obligated to
              record this Deed Covenant in order to memorialize, and give
              notice to Grantor’s successors and permitted assigns and
              Subsequent Grantees (as such term is defined below) of, certain
              restrictions on the use and development of the Property and
              certain terms and conditions of the Indemnity Agreement that are
              intended to run with the Property and constitute obligations of,
              and conditions on the ownership or use of any interest in the
              Property by, Grantor and its successors and permitted assigns,
              and all future assignees, purchasers, transferees, grantees,
              operators, lessees and other persons taking any property right or
              interest in the Property (the “Subsequent Grantees”).

  Betz Decl., Ex. 2 (reference to sub exhibit within ISA).

           BRG, as Grantor, then restates in the Deed Covenant its release of claims:

              1. Release.

              (a) The Grantor agrees to and hereby does waive, release,
              covenant not to sue and forever discharges GE with respect to

                                             13
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 18 of 36 PageID: 219




              any and all claims for Past Costs, as well as any damages,
              claims, penalties and causes of action and/or allegations of
              liability, whether asserted or unasserted that the Grantor ever
              had, now has, or may have in the future arising out of or relating
              in any way to Past Costs, Prior Environmental Investigations or
              GE Response Activities (as such terms are defined in the
              Indemnity Agreement).

              (b) For the purpose of limiting the nature of any claims between
              the Grantor and GE relating to any Environmental Response
              Activities to contractual claims under the Indemnity Agreement,
              from and after the Effective Date of the Indemnity Agreement,
              Grantor agrees to and hereby does specifically waive, release,
              covenant not to sue and forever discharge GE with respect to any
              and all past and present costs, damages, claims, penalties and
              causes of action and/or allegations of liability, whether asserted
              or unasserted, that the Grantor ever had, now has, or may have in
              the future arising out of or relating in any way to the
              Environmental Response Activities, except for those contractual
              claims set forth in Section 1(c) below. This release applies to
              anything which has happened prior to the Effective Date of the
              Indemnity Agreement, and expressly absolutely, unconditionally
              and irrevocably applies to any and all past and present costs,
              damages, claims, penalties and causes of action and/or
              allegations of liability, whether asserted or unasserted, that the
              Grantor ever had, now has, or may have in the future (other than
              to enforce GE’s obligations under the Indemnity Agreement)
              arising out of or relating in any way to the Environmental
              Response Activities.

              (c) For the avoidance of doubt, the Grantor’s releases set forth
              above are not intended, and shall not be construed, to cover or
              discharge any of GE’s obligations under the Indemnity
              Agreement.

           Both the Engineering Controls and Soil Management Plans, which are

  annexed to the Indemnity and Settlement Agreement, mention that “remedial

  actions for the site are planned including excavation of accessible soils impacted


                                             14
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 19 of 36 PageID: 220




  by TCE, Mercury and PCBs ….”                Engineering Controls and Remediation

  Management Plan, p. 2 (Nov. 2014), Ex. B to Indemnity and Settlement

  Agreement.

           BRG was well aware that under the Indemnity and Settlement Agreement it

  accepted primary responsibility for addressing building materials, including

  building materials containing contaminants such as asbestos, lead and mercury.

  Indeed, the agreement specifically excluded from GE’s indemnity obligation

  contaminants that might be found in building materials, specifically including lead,

  asbestos and mercury. Section 3 (b) of the agreement states:

              GE shall not be obligated to indemnify the Indemnified Parties
              with respect to any losses, costs, liabilities, damages, claims,
              actions, lawsuits, investigations, fees, penalties, fines or
              assessments and expenses arising out of any of the following
              (collectively, “Excluded Losses”): (i) the investigation, removal,
              disposal or remediation of any existing or residual building
              materials which might be present at the Site, or of any
              contaminant which might be present in building materials at
              the Site (e.g., asbestos, lead, mercury, mold, or any other
              building material or contaminant of building material);
              provided, however, that GE shall be responsible for the cost of
              handling and disposing of any building materials removed by GE
              in connection with the implementation of the Environmental
              Response Activities; (ii) the non-compliance by BRG, any
              Indemnified Party or any Subsequent Grantees with applicable
              law or any of the terms of this Agreement, including, without
              limitation, the Non-Disturbance Covenant (as such term is
              defined in Section 5(a) hereof), the Non-Interference Covenant
              (as such term is defined in Section 5(b) hereof), the Deed
              Covenant (as such term is defined in Section 9(b) hereof); (iii)
              any Incremental Liability (as defined below), or (iv) costs and

                                             15
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 20 of 36 PageID: 221




              fees incurred in cooperating with GE as provided in Section
              10(b) of this Agreement.

  Betz Decl., Ex. 2 (emphasis added).

           Finally, BRG attached to its Amended Complaint in this action its Notice of

  Intent to sue GE pursuant to the Citizen Suit provision of Resource Conservation

  and Control Act (“RCRA”), 42 U.S.C. § 6972 (a)(1)(B).6 See Am. Compl., Ex. A.

  Presumably, BRG included a copy of the notice so the Court would have a record

  of its notice and the basis of its claims as described in that notice letter. However,

  BRG did not include a copy of GE’s response to that notice, which would have

  rounded out the record. Also strikingly absent from BRG’s Amended Complaint is

  any description of the response of the EPA and NJDEP after being informed of

  BRG’s allegations. In particular, BRG does not allege that the environmental


  6
      The Court need not be concerned about preserving BRG’s statutory causes of
  action in order to address the “threat” that is alleged in the Complaint. As BRG’s
  Amended Complaint makes clear (as indeed it must under the terms of the statutes
  it seeks to invoke), it issued a “notice letter,” dated August 2, 2016, making the
  same allegations it later made in the Amended Complaint and sent that letter to
  both the EPA and NJDEP. Am. Compl. ¶ 102. Thus, these regulatory agencies
  have had information regarding the presence of mercury contamination within
  building materials at the Site for at least four months. In fact, as BRG
  acknowledges, NJDEP has known about the Site even longer as the result of a
  Preliminary Assessment that GE’s consultant submitted in September 2014 and a
  Remedial Investigation Report that GE’s consultant submitted in March 2015. See
  Am. Compl. ¶¶ 53-54. Indeed, BRG also refers to the October 7, 2016 Anchor
  QEA Mercury Report that was provided to BRG and NJDEP. Am. Compl. ¶¶ 113-
  14. When and if the substantive merits of this matter are addressed, GE will be
  prepared to present ample evidence why the property presents no threat to human
  health or the environmental in its present state.
                                            16
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 21 of 36 PageID: 222




  agencies BRG notified of its allegations failed to inspect the property, review the

  matter or otherwise evaluate BRG’s allegations. See, e.g., Am. Compl. ¶¶ 102;

  225-226; 234. In the end, despite all of BRG’s factual, statutory and common law

  assertions, the issue at the core of this case is a disagreement over what GE must

  do to obtain the RAO and which party is responsible to address contaminants in the

  building materials under the Indemnity and Settlement Agreement.

                                       ARGUMENT

                                          POINT I

                STANDARD OF REVIEW ON A MOTION TO DISMISS
               FOR FAILURE TO STATE A CLAIM UNDER FEDERAL
                     RULE OF CIVIL PROCEDURE 12(B)(6)

           “To survive a motion to dismiss” for failure to state a claim under Federal

  Rule of Civil Procedure 12(b)(6), “a complaint must contain sufficient factual

  matter, accepted as true, to state a claim to relief that is plausible on its face. . . . A

  claim has facial plausibility when the plaintiff pleads factual content that allows

  the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations and

  internal quotation marks omitted); see also McTernan v. City of York, 564 F.3d

  636, 646 (3d Cir. 2009). “In other words, a complaint must do more than allege

  the plaintiff’s entitlement to relief. A complaint has to ‘show’ such an entitlement

  with its facts.” Fowler v. UPMC Shadyside, 578 F.3d 203, 211 (3d Cir. 2009).


                                              17
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 22 of 36 PageID: 223




  The applicable plausibility standard, “asks for more than a sheer possibility that a

  defendant has acted unlawfully.” Iqbal, 556 U.S. at 678.

           “[A] complaint may be subject to dismissal under Rule 12(b)(6) when an

  affirmative defense appears on its face.” Leveto v. Lapina, 258 F.3d 156, 161 (3d

  Cir. 2001) (citing ALA, Inc. v. CCAir, Inc., 29 F.3d 855, 859 (3d Cir. 1994) and 5A

  Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure §1357).

  Wright & Miller confirm: “As the case law makes clear, the complaint is also

  subject to dismissal under Rule 12(b)(6) when its allegations indicate the existence

  of an affirmative defense that will bar the award of any remedy.” Federal Practice

  and Procedure §1357, p. 708 (2004). “In a situation involving the barring effect of

  an affirmative defense … the complaint includes matters of avoidance that

  effectively vitiate the pleader’s ability to recover on the claim.” Id. at 713.

           In deciding a motion to dismiss, a court’s review is not limited solely to the

  documents attached to the complaint by plaintiff. Review of “a ‘document integral

  to or explicitly relied upon in the complaint may be considered without converting

  the motion [to dismiss] into one for summary judgment.’” Winer Family Trust v.

  Queen, 503 F.3d 319, 328 (3d Cir. 2007) (quoting In re Burlington Coat Factory

  Sec. Litig., 114 F.3d at 1426); see also Pryor v. Nat’l Collegiate Athletic Ass’n,

  288 F.3d 548, 560 (3d Cir. 2002) (“Documents that the defendant attaches to the

  motion to dismiss are considered part of the pleadings if they are referred to in the


                                             18
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 23 of 36 PageID: 224




  plaintiff’s complaint and are central to the claim; as such, they may be considered

  by the court.” (emphasis omitted)); see also Hofman v. Time Warner Cable Inc.,

  No. 12-cv-00978 (ES), 2013 WL 2460121, at *4 (D.N.J. June 6, 2013) (taking

  notice of Residential Subscriber Agreement and Terms of Service incorporated

  therein, because they were “integral to Mr. Hoffman’s breach of contract claim”).

  Instead, courts are obligated to “‘consider the complaint in its entirety, as well as . .

  . documents incorporated into the complaint by reference, and matters of which a

  court may take judicial notice.’” Inst’l Investors Grp. v. Avaya, Inc., 564 F.3d 242,

  252 (3d Cir. 2009) (quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.

  308, 310 (2007)). Here, BRG explicitly refers to and relies on the Indemnity and

  Settlement Agreement in its Amended Complaint. Indeed, the Agreement is the

  sole basis for the breach of contract causes of action BRG pleaded in Counts Two

  and Three of its Amended Complaint.             Accordingly, the Court is entitled to

  consider the Agreement on this motion under F.R.C.P. 12(b)(6) and base a

  dismissal of BRG’s Amended Complaint (except Counts Two and Three) on its

  terms.7




  7
     If the Court were to grant GE’s motion, it could decline to exercise
  supplemental jurisdiction over the remaining claims (against both GE and the other
  defendants), which are only grounded in state law. See 28 U.S.C. § 1367(c)(3)
  (“The district courts may decline to exercise supplemental jurisdiction ... [once] the
  district court has dismissed all claims over which it has original jurisdiction”).
                                             19
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 24 of 36 PageID: 225




           Finally, dismissal with prejudice is appropriate where the plaintiff fails to

  state a claim and amending the claim would be inequitable or futile. See Shane v.

  Fauver, 213 F.3d 113, 115 (3d Cir. 2000); In re Burlington Coat Factory Sec.

  Litig., 114 F.3d at 1434; Motino v. Toys “R” Us., Inc., No. 06-cv-370 (SRC), 2007

  WL 2123698, at *2 (D.N.J. July 19, 2007); see also Smith v. Merck & Co., Inc.,

  No. 13-cv-2970, 2014 WL 5026321, at *6 (D.N.J. Oct. 8, 2014) (stating on Rule

  12(b)(6) motion that court may dismiss complaint with prejudice where it finds bad

  faith, undue delay, prejudice or futility). Where, as here, “it is clear that the

  complaint cannot be saved by amendment, the proposed amendment will not

  supply the deficiencies of the complaint, or it is patently obvious that the plaintiff

  cannot prevail on the facts alleged,” dismissal without leave to amend is proper.

  35B C.J.S. Federal Civil Procedure § 866 (citations omitted).


                                         POINT II

                    PURSUANT TO THE AGREEMENT, BRG
               RELINQUISHED ALL CAUSES OF ACTION AGAINST
               GE RELATING TO THE SITE EXCEPT THE RIGHT TO
                ENFORCE “CLAIMS UNDER THIS AGREEMENT”

           Where parties have contractually extinguished rights of action relating to

  certain liabilities as among themselves – including under environmental statutes –

  those agreements are binding on the parties and are enforced. See Red Bank Reg’l

  Ed. Ass’n v. Red Bank Reg’l High Sch. Bd., 78 N.J. 122, 140 (1978); Fisher Dev.


                                             20
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 25 of 36 PageID: 226




  Co. v. Boise Cascade Corp., 37 F.3d 104, 107 (3d Cir. 1994); Medtronic AVE, Inc..

  v. Advanced Cardiovascular Sys., Inc., 247 F.3d 44, 55 n. 4 (3d Cir. 2001).

           Here,    under   the   parties’   Settlement   and   Indemnity   Agreement

  (“Agreement”), BRG broadly relinquished all claims – except for “contractual

  claims” – with respect to the future environmental response actions that BRG now

  alleges in its Amended Complaint that GE is required to undertake at the Site. The

  terms of the Agreement8 and the allegations in BRG’s own pleading create a bar to

  the relief BRG now seeks – except under Counts Two and Three (for Breach of

  Contract against GE).

  A.       BRG relinquished the statutory and common law claims asserted here.

           In the lengthy preamble that preceded the substantive covenants of the

  Agreement, BRG and GE noted that the parties had asserted and disputed various

  claims relating to the Site and declared that “the Parties wish to fully resolve their

  differences concerning responsibility for (i) all Past Costs, and (ii) all future

  actions and costs related to Environmental Response Activities.”          Agreement,

  “Whereas” Recital Clauses (emphasis added).

           In accordance with this stated intent, following a short provision by which

  parties agreed to mutually release all “past costs” and claims relating to prior


  8
     The terms of the Agreement are referenced and relied upon throughout BRG’s
  Amended Complaint. See, e.g., ¶¶ 55-56, 103, 111, 121-22, as well as Counts Two
  and Three of the Amended Complaint.
                                              21
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 26 of 36 PageID: 227




  environmental response actions at the Site, id. at ¶2(a), the Agreement broadly

  extinguished the parties’ present and future claims and causes of action – except

  breach of contract – with respect to “Environmental Response Activities” to be

  performed thereafter:

              For the purpose of limiting the nature of any claims between the
              Parties relating to any Environmental Response Activities to
              contractual claims under this Agreement, from and after the
              Indemnity Effective Date, the Parties agree to and hereby do
              specifically waive, release, covenant not to sue and forever
              discharge each other with respect to any and all past and present
              costs, damages, claims, penalties and causes of action and/or
              allegations of liability, whether asserted or unasserted, that the
              Parties ever had, now have, or may have in the future arising out
              of or relating in any way to the Environmental Response
              Activities, except for those contractual claims set forth in Section
              2(c) below. This release applies to anything which has happened
              prior to the Effective Date, and expressly, absolutely,
              unconditionally and irrevocably applies to any and all past and
              present costs, damages, claims, penalties and causes of action
              and/or allegations of liability, whether asserted or unasserted,
              that the Parties ever had, now have, or may have in the future
              (other than to enforce the obligations and requirements of this
              Agreement) arising out of or relating in any way to the
              Environmental Response Activities.

  Id. at ¶2 (b) (underlined emphasis added).

           The underlined and emphasized language from this provision – “[f]or the

  purpose of limiting the nature of any claims between the Parties … to contractual

  claims” – could not make more clear the parties’ intent that the sole and exclusive




                                              22
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 27 of 36 PageID: 228




  remedy as between BRG and GE relating in any way to the “Environmental

  Response Activities” would be an action for breach of the Agreement.9

           The term “Environmental Response Activities” was, in turn, broadly defined

  by the Agreement:

              “Environmental Response Activities” shall mean all
              environmental activities of any kind carried out, in the past or the
              future, at or near the Site in connection with conditions arising
              out of GE’s or RCA’s prior activities at the Former RCA
              Facility, including on-Site investigations or activities, off-Site
              investigations or activities, response actions, remedial actions,
              mitigation or abatement investigations or activities, cleanup and
              removal costs, which activities shall also include all required
              actions of any kind with regard to VI investigation and
              mitigation, installation, operation and maintenance of all
              Controls, obtaining any required remedial action permits and
              posting required financial assurances, conducting all
              maintenance, monitoring and reporting requirements related to
              such Environmental Response Activities and paying all costs and
              expenses related thereto, all as required to obtain an RAO (as
              defined below) from an LSRP, and to comply with any and all
              requirements after issuance of such RAO.

  Agreement at ¶1(c) (emphasis added).




  9
      While Paragraph 2(b) of the Agreement extinguished any and all of BRG’s
  statutory and common law causes of action relating to “Environmental Response
  Activities,” Paragraph 2(c) makes clear “the releases contained in Sections 2(a)
  and 2(b) of this Agreement are not intended, and shall not be construed, to cover or
  discharge any of the Parties’ respective obligations under this Agreement.” Id. at
  ¶2(c) (emphasis added). The extent of GE’s preserved contractual obligations are
  defined in Paragraph 3 of the Agreement, by which GE agreed to indemnify and
  hold BRG harmless with respect to “Environmental Response Activities”
  (expressly subject, however, to the exclusions set forth at Paragraph 3(b)).
                                              23
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 28 of 36 PageID: 229




           By the express language of this definition, the term “Environmental

  Response Activities” encompasses the activities that BRG seeks to compel GE to

  perform or pay for pursuant to the statutory or common law causes of action

  asserted in the Amended Complaint.10         Thus, pursuant to the terms of the

  Agreement, BRG has contractually extinguished the claims that it seeks to assert in

  Counts One, Four through Eight, and Eleven and Twelve.

           In fact, BRG’s own allegations in the Amended Complaint confirm the

  broad scope of the term “Environmental Response Activities.” BRG asserts that

  the term “Environmental Response Activities” includes all of the activities that GE

  would be required to perform to obtain a “Response Action Outcome” (or “RAO”)

  for the Site:11



  10
     By its statutory and common law causes of action against GE, BRG seeks:
  Count One - “Response Costs” under the Comprehensive Environmental
  Response, Compensation, and Liability Act, 42 U.S.C. §9601 et seq. (CERCLA);
  by Counts Four, Five, Six and Seven - “past and future investigatory, cleanup and
  removal costs” under the New Jersey Spill Compensation and Control Act,
  N.J.S.A. 58:10-23.11, Nuisance, Negligence and Strict Liability, respectively;
  under Count Eight - restitution for “costs and expenses incurred and to be incurred
  in response to the mercury contamination on the Site” (Amended Complaint, ¶
  202). Through Counts Eleven (RCRA Injunctive Relief, pursuant to 42 U.S.C.
  §6901 et seq.), and Twelve (New Jersey Environmental Rights Act, N.J.S.A.
  2A:35A-1, et seq.) BRG seeks to compel GE to undertake future Environmental
  Response Activities that are plainly subject to the parties’ Agreement.
  11
      Obtaining an “RAO” is the objective of a remediation under the SRRA. A
  “Response Action Outcome” is defined as “a written determination by a licensed
  site remediation professional that the contaminated site was remediated in
  accordance with all applicable statutes and regulations ….” N.J.S.A. 58:10C-2.
                                          24
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 29 of 36 PageID: 230




              147. Section 1(c) of the Indemnity and Settlement Agreement
              defines “Environmental Response Activities” as “all
              environmental activities of any kind carried out, in the past or the
              future, at or near the Site in connection with conditions arising
              out of GE's or RCA’s prior activities at the [Site] . . . all as
              required to obtain an RAO . . from an LSRP, and to comply with
              any and all requirements after issuance of such RAO.”

  Am. Compl. ¶ 147.

           While the ellipses in BRG’s quotation here might render it misleading in

  another context, BRG’s quotation correctly makes clear that the definition of

  “Environmental Response Activities” includes every action required to obtain an

  RAO.

           BRG has further alleged that GE must “fully investigate and remediate the

  full extent of mercury contamination” at the Site to obtain an RAO:

              70. BRG has requested that GE fully investigate and remediate
              the full extent of mercury contamination at the Site, including in
              the building materials in Buildings A, B and C, and GE has
              declined to do so.

              71. Without a full investigation and remediation of mercury, it
              should not be possible for GE to obtain a Site-wide RAO.

  Am. Compl. ¶¶ 70-71.

           Moreover, BRG has asserted that GE’s alleged failure to perform all of the

  response actions it seeks to compel GE to perform or pay for pursuant to the

  Amended Complaint is a breach of GE’s obligation to perform “Environmental

  Response Activities”:



                                              25
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 30 of 36 PageID: 231




              150. GE has stopped performing Environmental Response
              Activities at the Site in connection with conditions arising out of
              GE's prior use and discharge of TCE at the Site that are required
              to obtain a Site-wide RAO, in breach of the Indemnity and
              Settlement Agreement.

              151. GE has refused to perform Environmental Response
              Activities in connection with conditions arising out of GE's prior
              use and discharge of mercury at the Site, including the mercury
              contamination, in breach of the Indemnity and Settlement
              Agreement.

  Id. ¶¶ 150-151.

           On a different day, when the substantive merit of BRG’s contract claims are

  considered, GE will dispute the specific details of BRG’s allegations quoted above

  concerning the requirements under New Jersey law to obtain an RAO,12 the

  Environmental Response Activities that GE has conducted and continues to

  undertake on the property and in the surrounding area (see, e.g., Am. Compl. ¶¶53-

  54), and the nature of GE’s affirmative obligations under the Agreement.13


  12
      The applicable guidance document of the NJDEP states that the agency “does
  not regulate the remediation of building interiors unless there is a known or
  suspected discharge of a hazardous substance or hazardous waste that may result in
  a discharge to the environment, or if a discharge from outside of the building is
  determined to be entering the building.” NJDEP, Guidance for the Issuance of
  Response Action Outcomes, p. 14 (April. 12, 2016), available at
  www.nj.gov/dep/srp/guidance/srra/rao_guidance.pdf (last visited Dec. 12, 2016).
  At the appropriate procedural juncture, GE will demonstrate that the sole
  circumstances identified by the NJDEP when building interiors must be addressed
  to obtain an RAO are not present here.
  13
     GE will show that BRG’s construction of the Agreement ignores the limitations
  on the scope of GE’s obligations established by the exclusions from the indemnity.
  Agreement ¶ 3(b).
                                              26
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 31 of 36 PageID: 232




  However, for purposes of this motion under F.R.C.P. 12(b)(6), BRG’s allegations

  are assumed to be true. For now, the subjects of these disputes are not relevant to

  the issue presented on this motion, which is limited to the scope of the defined

  term “Environmental Response Activities” and, hence, the scope of the release

  established by the Agreement.

           Based on both the allegations of BRG’s Amended Complaint and the clear

  terms of the Agreement itself, it is undisputed and, moreover, indisputable that this

  term encompasses “all environmental activities of any kind carried out, in the past

  or the future, at or near the Site in connection with conditions arising out of GE’s

  or RCA’s prior activities at the Former RCA Facility” (Agreement at §1(c)), and

  thus all of the relief that BRG seeks by its pleaded statutory and common law

  causes of action.

  B.       BRG’s relinquishment of its past, present and future causes of action
           was valid and should be enforced.
           By their Agreement, the parties agreed to “waive, release, covenant not to

  sue and forever discharge” past, present and future claims and causes of action

  relating to a broadly-defined category of “Environmental Response Activities” –

  subject to a preservation of their contractual remedies – and did so in the explicit

  context of a settlement agreement that resolved the parties’ prior disputes and




                                           27
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 32 of 36 PageID: 233




  future obligations.14 Under applicable law, these are effective, enforceable and

  overlapping means of accomplishing the parties’ stated objective: extinguishing or

  relinquishing the right to enforce statutory and common law or equitable remedies

  the Parties might have otherwise possessed to assure that the terms of the

  Agreement would exclusively govern the parties’ obligations regarding the

  measures necessary to address the contamination of the Site. The indisputable fact

  that the parties applied these legal tools as part of a settlement provides a strong

  additional policy ground for full enforcement of the parties’ Agreement here.

           Under New Jersey law, parties have a well-settled power to contractually

  waive causes of action. “The propriety of a contractual waiver of statutory rights is

  well-established in the private sector. To be given effect, any such waiver must be

  clearly and unmistakably established, and contractual language alleged to

  constitute a waiver will not be read expansively.” Red Bank Reg’l Ed. Ass’n, 78

  14
      New Jersey law governs the effect of the Agreement, which expressly provides
  that it “shall be governed by, and construed and enforced in accordance with, the
  laws of the State of New Jersey, without regard to its conflict of laws principles.”
  Agreement ¶ 16. Courts of this Circuit, “tend to enforce choice-of-law provisions
  in contracts provided the public policies of New Jersey are not offended and the
  contract bears some relation to the chosen jurisdiction.” Cohen v. Indep. Blue
  Cross, 820 F. Supp. 2d 594, 602 (D.N.J. 2011). As for BRG’s federal causes of
  action, although “[i]t is, of course, well settled that federal law governs issues
  relating to the validity of a release of a federal cause of action,” the Third Circuit
  Court of Appeals in Fisher Development, observing that “courts can look to state
  law and incorporate it into the federal law,” held that “New Jersey release and
  contract law” would be applied to determine the effect of a release on CERCLA
  liability for a site located in New Jersey. 37 F.3d at 108. There is no reason to
  depart from the rule of Fisher Development here.
                                           28
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 33 of 36 PageID: 234




  N.J. at 140. Even in the consumer context, parties otherwise entitled by law to

  assert various rights of action “remain free to limit those remedies by mutual

  agreement.” Marchak v. Claridge Commons, Inc., 134 N.J. 275, 281-82 (1993)

  (“We perceive no policy consideration that would prevent homeowners and

  builders from agreeing to arbitrate their disputes”).      Moreover, here (unlike

  Marchak) the parties were not entirely relinquishing their right to a judicial forum,

  but merely limiting the causes of action and claims that they could assert there. In

  this commercial context, where sophisticated parties represented by counsel

  negotiated a tailor-made agreement, there is no reason to disturb the arrangement

  they made to “limit[] the nature of any claims between the Parties relating to any

  Environmental Response Activities to contractual claims under this Agreement.”

  Agreement, ¶ 2(b).

           Where warranted by its language, a release construed under New Jersey law

  bars assertion of claims for future unknown liabilities, even where the parties’

  written agreement “does not use the words ‘future unknown liability.’” Fisher

  Dev. Co., 37 F.3d at 107 (language of release between owner of property and

  former operator of property executed in 1981 compelled dismissal of owner’s later

  CERCLA claims for contamination discovered after date of the release). Here,

  however, the parties explicitly provided that the release would have future effect

  by agreeing to “waive, release [etc.]… any and all … causes of action [etc.] … the


                                           29
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 34 of 36 PageID: 235




  Parties ever had, now have or may have in the future arising out of or relating in

  any way to the Environmental Response Activities.”              Agreement at ¶ 2(b)

  (emphasis added). See also Weisman v. N.J. Dep’t of Human Servs., 982 F. Supp.

  2d 386, 391 (D.N.J. 2013) (“A release of claims pursuant to a settlement agreement

  is a legal contract that should be enforced”); Giaccone v. Canopius U.S. Ins. Co.,

  133 F. Supp. 3d 668, 674 (D.N.J. 2015) (broad release of insurance claims will be

  honored and enforced as the court would any other contract).

           A “covenant not to sue” is what the term implies. It “applies to future

  claims and constitutes an agreement to exercise forbearance from asserting any

  claim which either exists or which may accrue.” Medtronic AVE, Inc., 247 F.3d at

  55 n. 4 (quoting McMahan & Co. v. Bass, 673 N.Y.S. 2d 19, 21 (1998)); WHY

  ASAP, LLC v. Compact Power, 461 F. Supp. 2d 308, 313-14 (D.N.J. 2006)

  (enforceable covenant not to sue eliminates any “actual controversy between the

  parties”); see also, 66 Am. Jur. 2d, Release § 4 (2011). In the context here, where

  the parties had the capacity to waive and release their future statutory and common

  law claims – and did so -- the covenant not to sue provides a “belts and

  suspenders” additional basis to preclude BRG from maintaining an action asserting

  statutory or common law causes of action in breach of the Agreement.

           Finally, it is important to note that the parties entered into the Agreement in

  the explicit context of a settlement. New Jersey has a strong policy favoring the


                                             30
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 35 of 36 PageID: 236




  enforcement of agreements by which the parties settle their disputes. Dep’t of Pub.

  Advocate v. N.J. Bd. of Pub. Util., 206 N.J. Super. 523, 528 (App. Div. 1985). The

  basis of this policy is that the parties themselves are in the best position for sorting

  out the best resolution with respect to disputed obligations:

           The point of this policy is not the salutary effect of settlements on our
           overtaxed judicial and administrative calendars (although this is an
           undeniable benefit) but the notion that the parties to a dispute are in
           the best position to determine how to resolve a contested matter in a
           way which is least disadvantageous to everyone. In recognition of
           this principle, courts will strain to give effect to the terms of a
           settlement wherever possible.

  Id. (emphasis added).

                                           ****

           BRG initiated this lawsuit in a patent attempt to circumvent the

  arrangements that the parties contractually established in their Agreement to settle

  their prior claims. However, as outlined above, the plain terms of the Agreement

  itself preclude this gambit. To enforce those terms and effectuate the manifest

  intent of the parties, Counts One, Four through Eight, and Eleven and Twelve of

  the Amended Complaint must be dismissed with prejudice.




                                              31
  ME1 23868380v.1
Case 2:16-cv-06577-SRC-CLW Document 20-1 Filed 12/16/16 Page 36 of 36 PageID: 237




                                    CONCLUSION

           For all the foregoing reasons, General Electric respectfully requests this

  Court grant its Motion To Dismiss with prejudice as to Counts One, Four through

  Eight, and Eleven and Twelve of BRG’s First Amended Complaint, and for an

  award of fees, costs, and such other relief the Court deems just and appropriate.


  Dated: December 16, 2016                   Respectfully Submitted,

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                                            32
  ME1 23868380v.1
